           Case 1:21-cv-01323-SAG Document 129 Filed 05/26/22 Page 1 of 1



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                   (Northern Division)

 ANNE ARUNDEL COUNTY,
 MARYLAND,

          Plaintiff
                                                   Civil Action No. 1:21-cv-01323-SAG
 vs.

 BP, P.L.C., et. al.

          Defendants.

                                 NOTICE OF APPEARANCE

         Please enter the appearance of Alison C. Schurick as additional counsel for Defendants

Chevron Corporation and Chevron U.S.A., Inc. in the above captioned action.


Dated: May 26, 2022                                 Respectfully submitted,

                                                    BAKER, DONELSON, BEARMAN,
                                                    CALDWELL & BERKOWITZ, P.C.

                                                           /s/Alison C. Schurick
                                                    Alison C. Schurick (Bar No. 17770)
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                                                    Email: aschurick@bakerdonelson.com

                                                    Counsel for Defendants Chevron Corp. and
                                                    Chevron U.S.A., Inc.

                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 26th day of May, 2022, a copy of the foregoing Notice

of Appearance was served on all counsel of record via this Court’s CM/ECF filing system.


                                                           /s/Alison C. Schurick
                                                    Alison C. Schurick



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